Narrative Progress Note

(When indicated, remember to document Subjective symptoms, Objective findings, Assessment of situation, and Plan of care)

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Date/Time

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Narrative Note

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